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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )      Cause No. 1:10-cr-0003-SEB-TAB-13
                                             )
 SHANON GAMMONS,                             )
                                             )
                       Defendant.            )


                            REPORT AND RECOMMENDATION


        On January 26, 2016, the Court held hearings on the Petition for Warrant or Summons for

 Offender Under Supervision filed on January 7, 2016. Defendant Gammons appeared in person

 with her appointed counsel, Michael Donahoe. The government appeared by Brad Blackington,

 Assistant United States Attorney. U. S. Parole and Probation appeared by Officer Chris

 Dougherty.

        The Court conducted the following procedures in accordance with Fed. R. Crim. P.

 32.1(a)(1) and 18 U.S.C. § 3583:

        1.     The Court advised Defendant Gammons of her rights and provided her with a

 copy of the petition. Defendant Gammons waived her right to a preliminary hearing.

        2.     The Court held an evidentiary hearing. The Government moved to enter the

 petition for warrant or summons for offender under supervised release dated January 7, 2016 into

 evidence, with no objection by the defendant, and the Court granted the same. Defendant

 Gammons did not contest the Government’s evidence and did not present any evidence.
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         3.       The Court found, based on the evidence, Defendant Gammons guilty of violations

 1 and 2, that are fully set forth in the petition:

         Violation
         Number          Nature of Noncompliance


              1          “The defendant shall not commit another federal, state, or local crime.”

                         On November 27, 2015, the offender was arrested by an officer with the
                         Greenwood Police Department and charged with two counts of felony
                         Theft, and one count each of misdemeanor False Informing, and Refusal to
                         Identify. The offender bonded out of the Johnson County Jail the same day
                         she was arrested. This case was filed a n Information on December 17,
                         2015, in Johnson County, under cause number 41D031512CM001620,
                         charging one count of Conversion, A-Misdemeanor, and one count of False
                         Informing, B-Misdemeanor. A summons was issued, and an initial hearing
                         is scheduled for January 11, 2016.

                         The Probable Cause Affidavit indicates that on November 27, 2015, a
                         victim reported her purse stolen in The Children’s Place store in the
                         Greenwood Park Mall. The store video showed a thin black female wearing
                         a North Face jacket pick up the purse and leave the store, concealing the
                         purse in her shopping bags. The officer stopped Shanon Gammons in the
                         mall, as she matched the description, and she told the officer that her name
                         was Kierra Savage. She later admitted stealing the purse from the store.
                         She admitted she presented a stolen credit card from the purse to The Buckle
                         store, attempting a purchase of $868.84, but was denied. Upon further
                         investigation, the offender was found to have stolen clothing from Old
                         Navy, worth $281 on her person.

              2          “The defendant shall not commit another federal, state, or local crime.”

                         On December 19, 2015, the offender was arrested by a deputy with the
                         Marion County Sheriff’s Office, at the Castleton Mall in Indianapolis. She
                         was charged with Theft and Shoplifting, and was issued a summons. The
                         deputy was called to The Children’s Place store on a report of a theft, as
                         employees witnessed the offender concealing clothing in an American Girl
                         Doll bag. The deputy found $246 in the The Children’s Place merchandise
                         in the offender’s bag. This officer spoke with the employee from The
                         Children’s Place who witnesses this incident. She reported the offender is
                         a “regular” shoplifter in their store, however, they are unable to stop her
                         without the assistance of law enforcement, which they had available on this
                         occasion.



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        5.      The Court finds that:

                (a)     The highest grade of violation is a Grade C violation.

                (b)     Defendant’s criminal history category is I.

                (c)     The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 3 to 9 months’ imprisonment.

        5.      The parties jointly recommended a sentence of 4 months in the Federal Bureau of

 Prisons with no supervised release to follow.

        The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a), and as more

 fully set forth on the record, finds that the Defendant violated the conditions in the petition, that

 her supervised release should be REVOKED, and that she should be sentenced to the custody of

 the Attorney General or his designee for a period of 4 months with no supervised release to

 follow. The Defendant is to be released on current conditions of supervised release pending the

 District Judge’s action on this Report and Recommendation. Defendant is to self-surrender upon

 designation of the Federal Bureau of Prisons.

        The parties are hereby notified that the District Judge may reconsider any matter assigned

 to a Magistrate Judge. The parties have fourteen days after being served a copy of this Report

 and Recommendation to serve and file written objections with the District Judge.



        Dated: 09 FEB 2016




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